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Greenwood Fabricating & Plating, LLC,

                       Plaintiff,

        V.

STAG Greenwood 1, LLC and STAG Ware
Shoals, LLC,

                       Defendants.

        Plaintiff, Greenwood Fabricating & Plating, LLC ( "Plaintiff' or "GFP"), complaining of

Defendants STAG Greenwood 1, LLC and STAG Ware Shoals, LLC (collectively, "STAG

Defendants"), alleges and shows unto the Court the following:



             1. GFP is a South Carolina limited liability company which is located in and does

business in Greenwood County, South Carolina. GFP is a full service fabrication, machining,

and electroplating company, which provides finished components to a wide classification of

manufacturers. It operates two South Carolina commercial facilities, which are located at: (1)

215 Mill Avenue, Greenwood, Greenwood County, South Carolina 29648 ( "the Greenwood

Premises"), and (2) 100 Holloway Road, Ware Shoals, Abbeville County, South Carolina 29692

("the Ware Shoals Premises") (collectively, the Greenwood Premises and the Ware Shoals

Premises are referred to as "the Premises").       GFP's headquarters are located within the

Greenwood Premises, and GFP utilizes the Ware Shoals Premises as a satellite manufacturing

facility.




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           2. Defendant STAG Greenwood 1, LLC ("STAG Greenwood") is a Delaware

limited liability company which, upon information and belief, is managed and has a principal

place of business outside of the State of South Carolina. STAG Greenwood owns the

Greenwood Premises, which is located in Greenwood County, South Carolina and which it

leases to GFP.

           3. Defendant STAG Ware Shoals, LLC ("STAG Ware Shoals") is a Delaware

limited liability company which, upon information and belief, is managed and has a principal

place of business outside of the State of South Carolina, STAG Ware Shoals owns the Ware

Shoals Premises, which is located in Abbeville County, South Carolina and which it leases to

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           4. This is a declaratory judgment action based on GFP's obligations under its lease

contracts with STAG Defendants for the Greenwood and Ware Shoals Premises.

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           5. The Court has subject matter jurisdiction of this case pursuant to 28 U.S.C. §

1332 as: (a) there is complete diversity of citizenship between the parties because GFP is a South

Carolina citizen and STAG Defendants are Delaware citizens, and (b) as explained below, the

amount in controversy, exclusive of interest and costs, far exceeds $75,000.00 as STAG

Defendants are demanding that GFP purchase almost $600,000 worth of new roofs for buildings.

           6. Additionally, this Court has personal jurisdiction over STAG Defendants as those

entities own real property in and conduct business in South Carolina and the lease contracts in

question were to be performed in whole or in part in South Carolina.




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            7. Venue is proper in this division and district pursuant to 28 U.S.C. § 1391 because

a substantial part of the events giving rise to the claims stated in this Complaint occurred in this

District.



            8. On February 25, 2005, STAG Defendants' predecessor, Greenwood Fabricating

& Plating, Inc. ("Original Landlord"), entered into two lease agreements with GFP's

predecessor, Greenwood Acquisition Company, LLC ("Original Tenant"), for the lease of the

Greenwood and Ware Shoals Premises.

            9. The lease for the Greenwood Premises is attached and hereby incorporated as

Exhibit A ("the Greenwood Premises Lease").            Pursuant to that Lease's terms, the tenant's

current annual rent is approximately $440,000.00.

            10. The lease for the Ware Shoals Premises is attached and hereby incorporated as

Exhibit B ("the are Shoals Premises Lease"). Pursuant to that Lease's terms, the tenant's

current annual rent is approximately $77,000.00.

            11. Subsequent to the execution of the Greenwood Premises Lease and the Ware

Shoals Premises Lease (collectively, "the Leases"), Original Landlord changed its name to RWB

of Greenwood, Inc., and Original Tenant changed its name to Greenwood Fabricating & Plating,



            12. Additionally, the Leases were assigned several times.

            13. For example, with regard to the Greenwood Premises Lease:

                      a. In or around 2006, RWB of Greenwood, Inc. assigned its interest under

                         the Greenwood Premises Lease to Greenwood RE, LLC;




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                  b. On or about March 20, 2007, Greenwood RE, LLC assigned its landlord

                         interest in the Greenwood Premises Lease to STAG II Greenwood, LLC;

                         and

                  c. On or about October 9, 2012, STAG II Greenwood, LLC assigned its

                         interest in that Lease to Defendant STAG Greenwood.

                  d. In 2014, Greenwood Fabricating & Plating, LLC sold to GFP Acquisition

                         Company, LLC. On August 1, 2014, Greenwood Fabricating & Plating,

                         LLC assigned its entire leasehold interest in the Greenwood Premises

                         Lease to GFP Acquisition Company and that entity's successors and

                         assigns.

                      e. Subsequently, GFP Acquisition Company changed its name to Plaintiff

                         Greenwood Fabricating & Plating, LLC ("GFP").

                      f. The current parties to the Greenwood Premises Lease are GFP and Stag

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           14. Additionally, with regard to the Ware Shoals Premises Lease:



                         interest in the Ware Shoals Premises Lease to Greenwood RE, LLC;

                      b. Less than two years later, on March 20, 2007, Greenwood RE, LLC

                         assigned its landlord interest in that Lease to STAG II Greenwood, LLC;

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                      c. On October 9, 2012, STAG II Greenwood, LLC assigned its landlord

                         interest in the Ware Shoals Premises Lease to Defendant STAG Ware

                         Shoals.


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                    d. In 2014, Greenwood Fabricating & Plating, LLC sold to GFP Acquisition

                         Company, LLC. On August 1, 2014, Greenwood Fabricating & Plating,

                         LLC assigned its entire leasehold interest in the Ware Shoals Premises

                         Lease to GFP Acquisition Company and that entity's successors and

                         assigns.

                      e. Subsequently, GFP Acquisition Company changed its name to Plaintiff

                         Greenwood Fabricating & Plating, LLC ( "GFP ")

                      f. The current parties to the Ware Shoals Premises Lease are GFP and STAG

                         Ware Shoals.

           15. The Leases had initial lease terms of ten years (from February 25, 2005-February

28, 2015). However, the Leases granted the tenant the right and option to extend the lease terms

for two additional periods of five years each.

            16. On or about November 20, 2014, GFP exercised its options to renew both the

Leases for five year terms that would begin on February 28, 2015 (and end in February 2020).

            17. The Leases have identical provisions entitled "Repairs; Condition of Premises,"

which provide:

                 The Premises are leased to Tenant "As is, where is," and Landlord
                 has no obligation to repair or maintain the Premises. Tenant, at its
                 own expense, shall maintain and keep the Premises in good repair,
                 including, without limitation, all heating, air conditioning,
                 electrical and plumbing equipment and facilities. In addition,
                 Tenant shall (i) replace any and all broken plate or window glass in
                 or about the Premises; (ii) make any repairs and replacements
                 necessitated by the use and occupancy of the Premises by Tenant
                 or by actions or inactions of its employees, agents, contractors, and
                 invitees; and (iii) return the Premises at the expiration or
                 termination of this lease to the condition they were in at the time
                 Tenant took possession of the Premises, reasonable wear and tear
                 excepted.


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               If (i) Tenant does not make the repairs it is obligated to make to the
               Premises as required under this paragraph (7), or (ii) Landlord, in
               its discretion, determines that emergency repairs to the Premises
               are necessary, then, in either such event, Landlord may itself make
               such repairs without liability to Tenant for any loss or damage that
               may occur to Tenant's merchandise, fixtures, or equipment, or to
               Tenant's business by reason thereof unless such loss or damage is
               a result of Landlord's gross negligence in making such repairs; and
               upon completion of such repairs Tenant shall pay, as additional
               rent hereunder, the costs incurred by Landlord in making such
               repairs within twenty (20) days after demand for payment.

Exs. A, B, at T 7.

            18.Although the Leases require GFP to "make any repairs and replacements

necessitated by" its "use and occupancy of the Premises [as] Tenant" and to "return the Premises

at the expiration or termination of [the Leases] to the condition they were in at the time [GFP]

took possession of the Premises, reasonable wear and tear excepted," id., the Leases do not

include any language regarding capital improvements to the Premises or any requirement for

GFP, as tenant, to pay for any capital improvements to the Premises.

            19.At the time of the Leases' execution in February of 2005, the Greenwood

Premises and the Ware Shoals Premises already had aging metal roofs on the buildings.

            20. The Greenwood Premises is comprised of five buildings, which have a total roof
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The buildings' current roofs were installed between 1987 and 1996.

            21. The Ware Shoals Premises has a single roofing area of approximately twenty

thousand (20,000) square feet. Its current roof was installed in 1989.

            22. In August of 2014, STAG Defendants hired a roofing company, Roof

Management, LLC ("Roof Management"), to evaluate the condition of all of the roofs at the

Greenwood and Ware Shoals Premises ("the Roofs").

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           23. In written reports, Roof Management advised, in August of 2014, that the normal

roof life span is twenty (20) years, and that the Roofs had been repaired in the past, but that they

were in poor condition, "beginning to fail," "at the end of [] normal service life," and "beyond

the means of repair."

           24. Therefore, Roof Management recommended to STAG Defendants that the Roofs

ultimately be replaced - some as early as the year 2015 - and it estimated that the Roofs'

replacements would cost $805,875.00.

           25. Specifically, Roof Management recommended to STAG Defendants the following

replacement years and estimated the following replacement costs for the Roofs:
                                                                                 -




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         Greenwood           Premises                  2015                 $156,000

         Original Building

         Greenwood Premises                            2016               $187,987.50

         1988 Metal Addition

         Greenwood Premises                            2020                 $236,250

         1990 Building

         Greenwood Premises                            2025                  $20,250

         1995 Southwest Building

         Greenwood Premises                            2015                $85,387.50

         1996 Metal Addition

            are Shoals Premises                        2015                 $120,000




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           26. On February 8, 2018, STAG Defendants sent GFP a written demand about the

Roofs, which is attached as Exhibit C ("the Demand")

           27. In the Demand, STAG Defendants stated that Roof Management is of "the

opinion" that the Ware Shoals Premises and three of the Greenwood Premises' buildings (the

1988 Metal Addition; the 1996 Metal Addition; and the Original Building) need new roofs in the

year 2018. Ex. C.

           28. The Demand asserts that: "Per lease Section 7 of both leases, replacement of the

roof at the facility is a tenant responsibility." Id. (Emphasis added).

           29. Although GFP has repaired and maintained the Roofs throughout its tenancy at
the Premises, it has refused to purchase brand new Roofs for STAG Defendants or pay for any

capital improvements to the Greenwood and Ware Shoals Premises.

            30. GFP adamantly disputes that the Leases require it to pay for capital

improvements, such as over half a million dollars' (and more than the costs of annual rent for the

Premises) worth of brand new Roofs for STAG Defendants' buildings.

            31. Instead, GFP contends that the Leases require STAG Defendants, as owners of

those Premises, to purchase capital improvements and any required new Roofs for the Premises.

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                                      ( D eclaratory Judgment)

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            33. Pursuant to S.C. Code Ann. §§ 15-53-10 et seq., and the inherent equitable

powers of the Court, GFP brings this claim for a declaratory judgment that it is not obligated

under the Leases to pay for capital improvements, such as brand new roofs, to the Greenwood

and Ware Shoals Premises.
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           34. A justiciable controversy exists between GFP and STAG Defendants with regard

to ¶ 7 of the Leases and whose responsibility it is to pay for capital improvements, including new

Roofs, at the Greenwood and Ware Shoals Premises.

           35. As noted above, Paragraph 7 of the Leases requires GFP, as Tenant of the

Premises, to "maintain and keep the Premises in good repair," to "make any repairs and

replacements necessitated by the use and occupancy of the Premises by Tenant or by actions or

inactions of its employees, agents, contractors, and invitees;" and to return the Premises at the

expiration or termination of the Leases to the condition they were in at the time GFP took

possession of the Premises, reasonable wear and tear excepted. Exs. A, B, ¶ 7.

           36. The Leases contain no language that requires GFP to pay for capital

improvements to the Premises.

           37. Likewise, the Leases include no language that imposes an obligation on GFP to

pay for brand new roofs on the Premises.

           38. Nonetheless, STAG Defendants have demanded that GFP pay for brand new roofs

for three buildings at the Greenwood Premises (the 1988 Metal Addition; the 1996 Metal

Addition; and the Original Building) and for the Ware Shoals Premises.

            39, Roof Management has advised STAG Defendants that new roofs for those

buildings would cost an estimated $549,375.00.

            40. Additionally, Roof Management, which has inspected the Roofs at the

Greenwood and Ware Shoals Premises, determined that the Roofs need to be replaced because

they are "at the end of [] normal service life," and "beyond the means of repair."




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            41. In other words, the Roofs need to be replaced, not because of any use, occupancy,

action, or inaction of GFP, but because they are simply at the end of their typical twenty (20)

year lifespan.

            42. Furthermore, the Roofs do not need to be replaced to "return the Premises . . . to

the condition they were in at the time [GFP] took possession of the Premises," Ex. A-B, ¶ 7, as

the Roofs were not new at the beginning of the Leases.

            43. When the Leases became effective in February 2005, the Roofs were already

between nine (9) and eighteen (18) years old. In particular, the Greenwood Premises' Roofs in

question were installed in 1987 (Original Building), 1988 (1988 Metal Addition), and 1996

(1996 Metal Addition), and the Ware Shoals Roof was installed in 1989.

            44. As a result, the plain and ordinary language of the Leases does not require GFP to

pay over half a million dollars' worth of new Roofs for the Greenwood and Ware Shoals

Premises.

            45. Furthermore, any maintenance and repair obligations that the Leases impose on

GFP do not extend to the replacement of the Premises' capital improvements or pre-existing

structural components that have reached the end of their normal lifespans and are beyond the

means of ordinary repair.

            46. What's more, the Leases' plain language does not require GFP to purchase brand

new Roofs which have average lifespans that would far outlast any GFP tenancy of the Premises,

which is scheduled to end in 2020, which would constitute extraordinary capital improvements to

the Premises, and put the Premises in a condition far better than they were in when GFP first

became a tenant.



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            47. Notably, STAG Defendants' unreasonable interpretation of the Leases (which

seeks for GFP to buy them new Roofs and other capital improvements) seeks to impose an

astonishing and unreasonable repair burden on GFP which monetarily exceeds the annual rent

for both Premises and would unjustly enrich STAG Defendants, especially in light of the Leases'

termination in the year 2020 and the average twenty year lifespan of metal roofs.

            48. Because of GFP and STAG Defendants' ongoing dispute over the Roofs and

Leases, a declaratory judgment is necessary and proper to determine whether the Leases require

GFP to purchase new capital improvements, such as Roofs, for the Greenwood and Ware Shoals

Premises.

       WHEREFORE, Greenwood Fabricating & Plating, LLC respectfully requests that this

Court issue a declaratory judgment that the Leases do not require it to purchase capital

improvements, such as new Roofs, for the Greenwood and Ware Shoals Premises. It also

respectfully asks the Court to award it such other and further relief as the Court may deem just



This 18th day of April 2018
Greenville, South Carolina




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